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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION


 UNITED STATES OF AMERICA,

 vs.                                                         CASE NO. 8:10-CR-98-T-EAK-TBM


 JEFFREY MILES EARNEST
                                             /

                                                  ORDER


         This cause comes before the Court on the defendant’s motion for reduction of sentence, the
 requested modification was based on the retroactive application of revised cocaine base sentencing
 guidelines (Doc. 497). The Court also has before it the U.S. Probation Office Amendment Assessment
 (Doc. 492) and the response of the government (Doc. 502). The Court has reviewed the motion and the
 Amendment Assessment for the United States Probation Office and the government response. The Court
 concludes that the defendant is not eligible for a reduction in sentence based on the amended guidelines
 and adopts the position that the defendant is not eligible for a reduction in sentence because he was
 sentenced under a statutory minimum penalty. Accordingly, it is.


         ORDERED that defendant’s motion for modification of sentence be denied.


         DONE AND ORDERED in Chambers in Tampa, Florida this 27th day of April, 2016.




 Copies furnished to: All Counsel of Record
